                                                    Notice Recipients
District/Off: 0971−3                     User: dchambers                        Date Created: 6/2/2020
Case: 19−30088                           Form ID: TRANSC                        Total: 9


Recipients of Notice of Electronic Filing:
aty         Matthew Jordan Troy           matthew.troy@usdoj.gov
aty         Michael S. Etkin         metkin@lowenstein.com
aty         Robert A. Julian        rjulian@bakerlaw.com
                                                                                                                 TOTAL: 3

Recipients submitted to the Claims Agent (Prime Clerk):
intp        William B. Abrams       1519 Branch Owl Pl.         Santa Rosa, CA 95409
cr          Mary Kim Wallace        P.O. Box 1632        Magalia, CA 95954
aty         Richard W. Slack       Weil Gotshal and Manges, LLP         767 Fifth Ave.       New York, NY 10153−0119
aty         Stephen Karotkin       Weil, Gotshal & Manges LLP          767 Fifth Avenue        New York, NY 10153
aty         Theodore Tsekerides       Weil, Gotshal & Manges LLP          767 Fifth Avenue        New York, NY 10153
            GREG M. ZIPES          United States Department of Justice      Office of the U.S. Trustee    450 Golden Gate
            Avenue Suite 05−0153        San Francisco, CA 94102
                                                                                                                 TOTAL: 6




      Case: 19-30088           Doc# 7701-3          Filed: 06/01/20        Entered: 06/01/20 16:03:12              Page 1
                                                             of 1
